902 F.2d 1565Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert Willie GARRETT, Petitioner-Appellant,v.Frank H. HORTON, Jr., Warden, P.C.I.;  William D. Leeke,S.C. Department of Corrections;  Attorney Generalof South Carolina, Respondents-Appellees.
    No. 89-6825.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 30, 1989.Decided April 26, 1990.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  Matthew J. Perry, Jr., District Judge.  (C/A No. 87-84-3)
      Robert Willie Garrett, appellant pro se.
      William Alva Ready, III, Office of the Attorney General of South Carolina, for appellees.
      D.S.C.
      DISMISSED.
      Before WIDENER, WILKINSON and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Robert Willie Garrett noted this appeal outside the 30-day appeal period established by Fed.R.App.P. 4(a)(1), and failed to move for an extension of the appeal period within the additional 30-day period provided by Fed.R.App.P. 4(a)(5).  The time periods established by Fed.R.App.P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore deny a certificate of probable cause to appeal and dismiss the appeal.  We dispense with oral argument because the the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    